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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


JONATHAN LACY,                                        )
                                                      )
        Plaintiff,                                    )
                                                      )
                       v.                             )       Case No. 1:22-CV-01335
                                                      )
COOK COUNTY, COOK COUNTY SHERIFF                      )
THOMAS DART, SERGEANT JUSTIN GUST,                    )       Hon. Sara L. Ellis
SERGEANT ANTHONYLUPPINO,                              )
SERGEANT ALBERT STUBENVOLL,                           )       JURY DEMANDED
OFFICER TERRY JACKSON, OFFICER                        )
KENNETH WOODS, OFFICER J. OLIVAS,                     )
OFFICER MARTIN HILL,OFFICER C. HILL,                  )
OFFICER G. FLORES, OFFICER DEPUTY                     )
SHERIFF TIMOTHY PRINE, OFFICER F.                     )
HUGHES, OFFICER GABRIEL HARPER and                    )
OFFICER ERIEL OLEA                                    )
                                                      )
        Defendants.                                   )

                                     NOTICE OF MOTION

TO:     SEE ATTACHED SERVICE LIST

        PLEASE TAKE NOTICE that on July 6, 2023, at 01:45 pm, or as soon thereafter as

counsel may be heard, we shall appear before the Honorable Sara L. Ellis, occupying Room 1403,

in the United States District Court for the Northern District of Illinois, and we will then and there

present Plaintiff Jonathan Lacy’s MOTION FOR LEAVE TO FILE HIS SECOND

AMENDED COMPLAINT.


 Ronald S. Cope (ARDC No. 051256)               JONATHAN LACY,
 SCHAIN, BANKS, KENNY & SCHWARTZ, LTD.
 70 W. Madison Street, Suite 5400
 Chicago, Illinois 60602
 Phone: (312) 345-5700                          By: /s/ Ronald S. Cope
 rcope@schainbanks.com                            One of his attorneys
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                                CERTIFICATE OF SERVICE

       Under penalties as provided by law pursuant to Section 1-109 of the Illinois Code of Civil
Procedure, the undersigned certifies that a copy of this Notice and the PLAINTIFF’S MOTION
FOR LEAVE TO FILE HIS SECOND AMENDED COMPLAINT, was served on each person
to whom it is addressed via email on June 2, 2023. The undersigned further certifies that copies of
the same were filed on June 2, 2023, with the Northern District of Illinois’ ECF System.


                                                                    /s/ Ronald S. Cope
                                                                    Ronald S. Cope




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                                   SERVICE LIST


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